                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE

RACHEL RAMSBOTTOM
ALEXIS BOWLING
JENNA HOUSTON

                     Plaintiff
                                          CIVIL ACTION
      v.
                                          No. 3:21-cv-00272
LORIN ASHTON, AMORPHOUS MUSIC INC.,       JURY TRIAL DEMANDED
BASSNECTAR TOURING, INC., REDLIGHT JUDGE ALETA A. TRAUGER
MANAGEMENT, INC., C3 PRESENTS, L.L.C,
INTERACTIVE GIVING FUND, GNARLOS
INDUSTIRES, LLC, CARLOS DONOHUE; ABC
CORPORATIONS, ONE THROUGH TEN (said
Names Being Fictitious), JOHN DOES, ONE JURY TRIAL DEMANDED
THROUGH TEN (saif Names Being fictitious)


                     Defendants.

                    PRAECIPE TO ATTACH CORRECTED EXHIBIT

TO THE CLERK:

       Plaintiff, by and through counsel, respectfully file this Praecipe to request that the correct

Exhibits “A-D” (enclosed hereto) be attached to Plaintiff’s Response in Opposition to Defendant

Interactive Giving Fund’s Motion to Dismiss Plaintiff’s First Amended Complaint, Esquire. Filed

on July 28, 2021 (See ECF No. 73), in the above captioned matter.

                                              Respectfully submitted,

                                              LAFFEY, BUCCI & KENT, LLP




                                            _________________________________
                                            M. STEWART RYAN, ESQUIRE




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                               CERTIFICATE OF SERVICE

       I, M. Stewart Ryan, Esquire, hereby certify that this on 29th day of July 2021, I served a

true and correct copy of our Praecipe to Attach Exhibits “A-D” upon the counsel listed below via

the ECF Filing System:



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and Bassnectar Touring Inc.




                                   Respectfully submitted,

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                                   _________________________________
                                   M. STEWART RYAN, ESQUIRE




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